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 6
                           IN THE UNITED STATES DISTRICT COURT
 7                       FOR THE WESTERN DISTRICT OF WASHINGTON
                                       AT TACOMA
 8

 9    JENNIFER BRITT, Individually and for                 Case No. ________________
      Others Similarly Situated,
10                                                         ORIGINAL CLASS AND
             Plaintiff                                     COLLECTIVE ACTION
11                                                         COMPLAINT
      v.
12
                                                           Jury Trial Demanded
13    CLALLAM COUNTY PUBLIC HOSPITAL
      DISTRICT NO. 2 d/b/a OLYMPIC                         FLSA Collective Action
14    MEDICAL CENTER, a Washington                         Rule 23 Class Action
      Municipal Corporation,
15
             Defendant.
16

17
                    ORIGINAL CLASS & COLLECTIVE ACTION COMPLAINT
18
                                                  SUMMARY
19
            1.      Jennifer Britt (“Britt”) brings this class and collective action to recover unpaid wages
20
     and damages from Clallam County Public Hospital District No. 2 d/b/a Olympic Medical Center
21

22   (“Olympic”).

23          2.      Britt worked for Olympic as a Certified Medical Coder in Port Angeles, Washington.

24          3.      Like the Putative Class Members (as defined below), Britt regularly works more than
25   40 hours in a workweek.
26
            4.      But Olympic does not pay them for all the hours they work.
27

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            5.        Instead, Olympic automatically deducts 30 minutes a day from these employees’
 1

 2   work time for so-called meal breaks.

 3          6.        Britt and the Putative Class Members are thus not paid for that time.

 4          7.        But Olympic fails to provide Britt and the Putative Class Members with bona fide
 5   meal breaks.
 6
            8.        Instead, Olympic requires Britt and the Putative Class Members to remain on-duty
 7
     throughout their shifts and continuously subjects them to interruptions, including during their
 8
     unpaid “meal breaks.”
 9
            9.        Olympic’s auto-deduction policy violates the Fair Labor Standards Act (“FLSA”),
10

11   the Washington Minimum Wage Act (“WMWA”), and the Washington Wage Rebate Act

12   (“WWRA”) by depriving Britt and the Putative Class Members of wages, including overtime pay,

13   for all hours worked, including those worked in excess of 40 hours in a workweek.
14          10.       Similarly, Olympic also subjects Britt and the Putative Class Members to its uniform
15
     policy of automatically rounding these employees’ recorded time punches to the nearest 15-minute
16
     increment.
17
            11.       Like Olympic’s auto-deduction meal break policy, Olympic’s uniform rounding
18
     policy violates the FLSA, WMWA, and WWRA by depriving Britt and the Putative Class Members
19

20   of wages, including overtime pay, for all hours worked, including those worked in excess of 40 hours

21   in a workweek.

22                                          JURISDICTION & VENUE
23          12.       This Court has original subject matter jurisdiction pursuant to 28 U.S.C. § 1331
24
     because this case involves a federal question under the FLSA. 29 U.S.C. § 216(b).
25
            13.       The Court also has supplemental jurisdiction over the state-law subclass claims
26
     because these claims arise from a common nucleus of operative facts. 28 U.S.C. § 1367.
27

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            14.     This Court has general personal jurisdiction over Olympic because Olympic is a
 1

 2   domestic municipal corporation.

 3          15.     Venue is proper because Olympic maintains its headquarters in Port Angeles,

 4   Washington, which is in this District and Division. 28 U.S.C. § 1391(b)(1).
 5                                                PARTIES
 6
            16.     Britt worked for Olympic as a Certified Medical Coder in Port Angeles, Washington
 7
     from approximately August 2017 until August 2022.
 8
            17.     Throughout her employment, Olympic classified Britt as non-exempt and paid her
 9
     on an hourly basis.
10

11          18.     But Olympic subjected Britt to its common practice of automatically deducting 30

12   minutes a day from her recorded work time for so-called “meal breaks.”

13          19.     Likewise, throughout her employment, Olympic subjected Britt to its common
14   practice of automatically rounding her recorded time punches to the nearest 15-minute increment
15
     to Olympic’s primary benefit.
16
            20.     Britt’s written consent is attached as Exhibit 1.
17
            21.     Britt brings this action on behalf of herself and other similarly situated hourly, non-
18
     exempt Olympic employees who were subject to (1) Olympic’s automatic meal break deduction
19

20   policy and/or (2) Olympic’s automatic rounding policy.

21          22.     Olympic automatically deducts 30 minutes/shifts from all of these employees’

22   recorded hours worked for so-called “meal breaks.”
23          23.     But Olympic uniformly requires all of these employees to remain on-duty and
24
     perform work throughout their shifts, including during their unpaid “meal breaks.”
25
            24.     Olympic also automatically rounds all of these employees’ recorded time punches to
26
     the nearest 15-minute increment to Olympic’s – not the employees’ – primary benefit.
27

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            25.     The FLSA Collective of similarly situated employees is defined as:
 1

 2                  All hourly, non-exempt Olympic employees who were subject to
                    (1) Olympic’s automatic meal break deduction policy and/or (2)
 3                  Olympic’s automatic rounding policy at any time during the
                    past 3 years (“FLSA Collective Members” or “FLSA
 4                  Collective”).
 5          26.     Britt also seeks to represent such a class under the WMWA and WWRA pursuant to
 6
     FED. R. CIV. P. 23.
 7
            27.     The Washington Class of similarly situated employees is defined as:
 8
                    All hourly, non-exempt Olympic employees who were subject to
 9                  (1) Olympic’s automatic meal break deduction policy and/or (2)
                    Olympic’s automatic rounding policy while working in
10                  Washington at any time during the past 3 years (“Washington
11                  Class Members” or “Washington Class”).

12          28.     The FLSA Collective Members and Washington Class Members are collectively

13   referred to as the “Putative Class Members” or “Putative Class.”
14          29.     Olympic is a Washington municipal corporation and public hospital district of
15
     Washington State authorized to provide healthcare services in Clallam County, Washington.
16
            30.     Olympic maintains its headquarters in Port Angeles, Washington.
17
            31.     Olympic may be served with process by serving its officers, directors, managing
18
     agents, or general agents at 939 Caroline Street, Port Angeles, Washington 98362.
19

20                                      COVERAGE UNDER THE FLSA

21          32.     At all relevant times, Olympic was an employer within the meaning of Section 3(d)

22   of the FLSA, 29 U.S.C. § 203(d).
23          33.     At all relevant times, Olympic, as a hospital network and institution primarily
24
     engaged in healthcare, was an enterprise within the meaning of Section 3(r)(2)(A) of the FLSA,
25
     29 U.S.C. § 203(r)(2)(A).
26

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            34.     At all relevant times, Olympic was an enterprise engaged in commerce or in the
 1

 2   production of goods for commerce within the meaning of Section 3(s)(1)(B) of the FLSA, 29 U.S.C.

 3   § 203(s)(1)(B), because Olympic, as a hospital network, is engaged in the operation of a hospital and

 4   an institution primarily engaged in providing healthcare services.
 5          35.     At all relevant times, Olympic has had an annual gross volume of sales made, or
 6
     business done, of not less than $500,000 each year.
 7
            36.     At all relevant times, Olympic has and has had employees engaged in commerce or
 8
     in the production of goods for commerce, or employees handling, selling, or otherwise working on
 9
     goods or materials that have been moved in or were produced for commerce, such as medical tools,
10

11   personal protective equipment, computers, and cell phones.

12          37.     At all relevant times, Britt and the FLSA Collective Members were engaged in

13   commerce or in the production of goods for commerce.
14          38.     Olympic uniformly deducted 30 minutes/shift from Britt and the FLSA Collective
15
     Members’ wages for meal breaks, even when these employees did not actually receive bona fide, non-
16
     interrupted meal breaks.
17
            39.     Likewise, Olympic also automatically rounds all of these employees’ recorded time
18
     punches to the nearest 15-minute increment to Olympic’s – not the employees’ – primary benefit.
19

20          40.     As a result, Olympic failed to pay Britt and the FLSA Collective Members for all

21   their compensable work, including overtime wages, in violation of the FLSA.

22          41.     Olympic’s automatic meal break deduction policy and automatic rounding policy,
23   which deprive Britt and the FLSA Collective Members of overtime compensation for all overtime
24
     hours worked during the weeks in which these employees work over 40 hours, is a violation of the
25
     FLSA. 29 U.S.C. § 207(a) & (e).
26

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                                                    THE FACTS
 1

 2             42.     Olympic “is a partner in health, wellness, and healing” that serves the “[r]esidents of

 3   the North Olympic Peninsula.”1

 4             43.     Olympic bills itself as the “largest employer in Clallam County [that] … employs
 5   more than 1,550 people.”2
 6
               44.     Olympic employs workers, including Britt and the Putative Class Members, to work
 7
     at its healthcare facilities.
 8
               45.     Olympic uniformly classifies these employees as non-exempt and pays them on an
 9
     hourly basis.
10

11             46.     While exact job titles and job duties may differ, these employees are subjected to the

12   same or similar illegal pay practices.

13             47.     For example, Britt worked for Olympic as a Certified Medical Coder in Port Angeles,
14   Washington from approximately August 2017 until August 2022.
15
               48.     As a Certified Medical Coder, Britt’s primary responsibilities included reviewing
16
     patient charts and treatment notes to ensure bill codes were correctly entered into Olympic’s
17
     systems.
18
               49.     Throughout her employment, Olympic classified Britt as non-exempt and paid her
19

20   on an hourly basis.

21             50.     Throughout her employment, Olympic subjected Britt to its common practice of

22   automatically deducting 30 minutes from her recorded hours worked and wages each shift for meal
23   breaks, regardless of whether she actually received a bona fide meal break.
24

25
     1
26       https://www.olympicmedical.org/about-us/ (last visited April 17, 2023).
     2
27       Id.

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            51.      Throughout her employment, Olympic subjected Britt to its common practice of
 1

 2   automatically rounding her recorded time punches to the nearest 15-minute increment for Olympic’s

 3   primary benefit.

 4          52.      Britt and the Putative Class Members performed their jobs under Olympic’s
 5   supervision, and using materials, equipment, and technology approved and supplied by Olympic.
 6
            53.      Olympic requires Britt and the Putative Class Members to follow and abide by
 7
     common work, time, pay, and overtime policies and procedures in the performance of their jobs.
 8
            54.      At the end of each pay period, Britt and the Putative Class Members received wages
 9
     from Olympic that were determined by common systems and methods that Olympic selected and
10

11   controlled.

12          55.      Olympic requires its hourly, non-exempt employees, including Britt and the Putative

13   Class Members, to record their hours worked using Olympic’s timeclock system.
14          56.      Further, Olympic subjects its hourly, non-exempt employees, including Britt and the
15
     Putative Class Members, to a common policy and practice of automatically deducting time from
16
     these employees’ recorded hours worked for meal periods.
17
            57.      Specifically, Olympic automatically deducts 30 minutes from Britt’s and the Putative
18
     Class Members’ time records each shift they work for meal periods, regardless of whether these
19

20   employees actually receive a full, uninterrupted, 30-minute meal period.

21          58.      But Olympic fails to provide Britt and the Putative Class Members with bona fide

22   meal periods.
23          59.      Instead, Olympic requires Britt and the Putative Class Members to remain on-duty
24
     and working throughout their shifts, continuously subjecting them to interruptions, including during
25
     their unpaid meal periods.
26

27

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            60.     This unpaid time is compensable under the FLSA and/or WMWA because Olympic
 1

 2   knew, or should have known, that (1) Britt and the Putative Class Members were performing unpaid

 3   work during their “meal breaks,” (2) they were interrupted or subject to interruptions with work

 4   duties during any attempted meal period, (3) they entirely skipped the meal period due to work
 5   demands, and/or (4) the meal period was less than 20 consecutive minutes.
 6
            61.     Olympic failed to exercise its duty to ensure Britt and the Putative Class Members
 7
     were not performing work that Olympic did not want performed during their unpaid “meal breaks.”
 8
            62.     The unpaid time is also compensable under the WWRA because Olympic agreed to
 9
     pay Britt and the Washington Class Members an hourly rate of pay for all time they worked, and
10

11   Olympic failed to pay Britt and the Washington Meal Break Class Members all their earned wages.

12          63.     Despite accepting the benefits, Olympic did not pay Britt and the Putative Class

13   Members for the compensable work they performed during their “meal breaks.”
14          64.     Thus, under Olympic’s uniform automatic meal break deduction policy, Britt and
15
     the Putative Class Members are denied overtime pay for those on-duty “meal breaks” in workweeks
16
     in which they work in excess of 40 hours in violation of the FLSA and WMWA.
17
            65.     Likewise, under Olympic’s uniform automatic meal break deduction policy, Britt and
18
     the Washington Meal Break Class Members are denied “straight time” pay (at their agreed hourly
19

20   rates) for those on-duty “meal breaks” in workweeks in which they work fewer than 40 hours in

21   violation of the WWRA.

22          66.     Olympic also subjects Britt and the Putative Class Members to its uniform policy of
23   automatically rounding these employees’ recorded time punches to the nearest 15-minute increment.
24
            67.     Olympic’s uniform rounding policy violates the FLSA and WMWA by depriving
25
     Britt and the Putative Class Members of overtime pay for all overtime hours worked because
26
     Olympic fails to include all work time in these employees’ total hours worked.
27

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             68.     Likewise, Olympic’s uniform rounding policy violates the WWRA by depriving Britt
 1

 2   and the Washington Class Members of “straight time” pay (at their agreed hourly rates) for all hours

 3   worked up to 40 hours in a workweek because Olympic fails to include all work time in these

 4   employees’ total hours worked.
 5           69.     Olympic knows Britt and the Putative Class Members routinely perform work “off
 6
     the clock” during their unpaid meal breaks because Olympic expects and requires these employees
 7
     to do so.
 8
             70.     But Olympic does not pay Britt and the Putative Class Members for their routine
 9
     “off the clock” work, including those hours worked in excess of 40 hours in a workweek, in violation
10

11   of the FLSA, WMWA, and/or WWRA.

12           71.     Britt worked more than 40 hours in at least one workweek during the three years

13   before this Complaint was filed.
14           72.     Likewise, each Putative Class Member worked more than 40 hours in at least one
15
     workweek during the three years before this Complaint was filed.
16
             73.     Indeed, Olympic typically schedules Britt and the Putative Class Members to work
17
     8- to 12-hour shifts for at least 5 days a week.
18
             74.     And Britt and the Putative Class Members regularly are also required to work during
19

20   their unpaid meal breaks “off the clock” in order to complete their job duties and responsibilities.

21           75.     As a result, Britt and the Putative Class Members routinely work in excess of 40

22   hours in a typical workweek.
23           76.     When Britt and the Putative Class Members worked more than 40 hours in a
24
     workweek, Olympic did not pay them premium overtime wages for all overtime hours worked
25
     because Olympic failed to include time these employees worked during their unpaid “meal breaks”
26
     in their total number of hours worked in a given workweek.
27

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              77.     Likewise, when Britt and the Washington Class Members worked fewer than 40
 1

 2   hours in a workweek, Olympic did not pay them “straight time” pay (at their agreed hourly rates)

 3   for all hours worked because Olympic failed to include time these employees worked during their

 4   unpaid meal breaks in their total number of hours worked in a given workweek.
 5            78.     Olympic knew, or should have known, it was subject to the FLSA and WMWA,
 6
     including their respective overtime provisions.
 7
              79.     Olympic knew, or should have known, the FLSA and WMWA require it to pay
 8
     employees, including Britt and the Putative Class Members, overtime wages at rates not less than
 9
     1.5 times these employees’ regular rates of pay for all hours worked in excess of 40 hours in a
10

11   workweek.

12            80.     Olympic knew, or should have known, the WWRA requires it to pay employees,

13   including Britt and the Washington Class Members wages at rates not less than those it agreed to
14   pay such employees.
15
              81.     Olympic knew, or should have known, Britt and the Putative Class Members worked
16
     more than 40 hours in a workweek.
17
              82.     Olympic knew, or should have known, Britt and the Putative Class Members
18
     regularly worked during their unpaid meal breaks because Olympic expected and required them to
19

20   do so.

21            83.     Olympic knowingly, willfully, and/or in reckless disregard carried out these illegal

22   policies that deprived Britt and the Putative Class Members of pay, including overtime
23   compensation, for all hours worked in violation of the FLSA, WMWA, and/or WWRA.
24
              84.     Nonetheless, Olympic failed to pay Britt and the Putative Class Members overtime
25
     compensation for all hours these employees worked, including those worked in excess of 40 hours
26
     in a workweek.
27

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            85.     Likewise, Olympic failed to pay Britt and the Washington Class Members all their
 1

 2   wages earned at the rates Olympic agreed to pay them for the work they performed for Olympic.

 3          86.     Olympic’s failure to pay Britt and the Putative Class Members overtime

 4   compensation for all overtime hours worked was neither reasonable, nor was the decision not to
 5   pay these employees overtime compensation for all overtime hours worked made in good faith.
 6
                               CLASS & COLLECTIVE ACTION ALLEGATIONS
 7
            87.     Britt brings her claims as a class and collective action under § 216(b) of the FLSA
 8
     and FED. R. CIV. P. 23.
 9
            88.     The Putative Class Members were uniformly victimized by Olympic’s automatic
10

11   meal break deduction policy and/or Olympic’s automatic rounding policy, which are in willful

12   violation of the FLSA, WMWA, and/or WWRA.

13          89.     Other Putative Class Members worked with Britt and indicated that they were paid
14   in the same manner and were subject to Olympic’s same illegal pay policies.
15
            90.     Based on her experiences with Olympic, Britt is aware Olympic’s illegal practices
16
     were imposed on the Putative Class Members.
17
            91.     The Putative Class Members are similarly situated in all relevant respects.
18
            92.     Even if their precise job duties and locations might vary somewhat, these differences
19

20   do not matter for the purposes of determining their entitlement to overtime compensation.

21          93.     Therefore, the specific job titles or precise job locations of the various members of

22   the Putative Classes do not prevent class or collective treatment.
23          94.     Rather, the Putative Classes are held together by Olympic’s uniform automatic meal
24
     break deduction policy and Olympic’s automatic rounding policy that systematically deprived Britt
25
     and the Putative Class Members of wages, including overtime pay, for all hours worked, including
26
     those hours worked in excess of 40 hours in a workweek.
27

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             95.     The Washington Meal Break Class Members are similarly denied “straight time” pay
 1

 2   (at their agreed hourly rates) when they worked fewer than 40 hours in a workweek.

 3           96.     The Putative Class Members are similarly denied overtime compensation for all

 4   overtime hours worked when they work more than 40 hours in a workweek.
 5           97.     The back wages owed to Britt and the Putative Class Members will be calculated
 6
     using the same records and using the same formula.
 7
             98.     Britt’s experiences are therefore typical of the experiences of the Putative Class
 8
     Members.
 9
             99.     Britt has no interests contrary to, or in conflict with, the Putative Class Members
10

11   that would prevent class or collective treatment.

12           100.    Like each Putative Class Member, Britt has an interest in obtaining the unpaid wages

13   owed under federal and/or state law.
14           101.    A class and collective action, such as the instant one, is superior to other available
15
     means for fair and efficient adjudication of the lawsuit.
16
             102.    Absent a class and collective action, many Putative Class Members will not obtain
17
     redress for their injuries, and Olympic will reap the unjust benefits of violating the FLSA, WMWA,
18
     and WWRA.
19

20           103.    Further, even if some of the Putative Class Members could afford individual

21   litigation against Olympic, it would be unduly burdensome to the judicial system.

22           104.    Concentrating the litigation in one forum will promote judicial economy and parity
23   among the claims of the Putative Class Members, as well as provide judicial consistency.
24
             105.    The questions of law and fact that are common to each Putative Class Member
25
     predominate over any questions affecting solely the individual members.
26
             106.    Among the common questions of law and fact are:
27

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                a.    Whether Olympic engaged in a policy and practice of automatic time
 1

 2                    deductions for meal periods that were not bona fide, continuous, and

 3                    uninterrupted in violation of the FLSA, WMWA, and/or WWRA;

 4              b.    Whether Olympic’s automatic meal break deduction policy deprived Britt
 5                    and the Putative Class Members of pay for time worked during meal periods
 6
                      that were not bona fide, continuous, and uninterrupted in violation of the
 7
                      FLSA, WMWA, and/or WWRA;
 8
                c.    Whether Olympic failed to pay Britt and the Putative Class Members
 9
                      overtime compensation for all hours worked in excess of 40 hours in a
10

11                    workweek, including hours worked during missed and interrupted meal

12                    breaks in violation of the FLSA and WMWA;

13              d.    Whether Olympic failed to pay Britt and the Washington Meal Break Class
14                    Members “straight time” pay at their agreed hourly rates for all hours worked
15
                      because Olympic failed to include time these employees worked during their
16
                      meal breaks in their total number of hours worked in a given workweek in
17
                      violation of the WWRA;
18
                e.    Whether Olympic knew, or had reason to know, Britt and the Putative Class
19

20                    Members were requested, suffered, permitted, or allowed to work during

21                    their unpaid meal breaks in violation of the FLSA, WMWA, and WWRA;

22              f.    Whether Olympic engaged in a policy and practice of automatically rounding
23                    Britt and the Putative Class Members’ recorded time punches to the neatest
24
                      15-minute increment;
25
                g.    Whether Olympic’s automatic rounding policy primarily benefited Olympic
26
                      and not Britt and the Putative Class Members;
27

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                      h.       Whether Olympic’s automatic rounding policy deprived Britt and the
 1

 2                             Putative Class Members of pay, including overtime wages, for all hours

 3                             worked in violation of the FLSA, WMWA, and/or WWRA;

 4                    i.       Whether Olympic’s violations of the FLSA, WMWA, and/or WWRA
 5                             resulted from a continuing course of conduct;
 6
                      j.       Whether Olympic’s decision not to pay Britt and the Putative Class Members
 7
                               overtime compensation for all overtime hours worked was made in good
 8
                               faith;
 9
                      k.       Whether Olympic’s decision not to pay Britt and the Washington Class
10

11                             Members all wages earned for all hours worked was made in good faith; and

12                    l.       Whether Olympic’s violations of the FLSA, WMWA, and/or WWRA were

13                             willful.
14           107.     Britt and the Putative Class Members sustained damages arising out of Olympic’s
15
     illegal and uniform employment policies.
16
             108.     Britt knows of no difficulty that will be encountered in the management of this
17
     litigation that would preclude its ability to go forward as a class or collective action.
18
             109.     Even if the issue of damages were somewhat individual in character, the damages
19

20   can be calculated by reference to Olympic’s records, and there is no detraction from the common

21   nucleus of liability facts.

22           110.     Therefore, the issue of damages does not preclude class or collective treatment.
23           111.     Olympic is liable under the WWRA for failing to pay Britt and the Washington Meal
24
     Break Class Members “straight time” pay (at their agreed hourly rates) for all hours worked when
25
     they work fewer than 40 hours in a workweek.
26

27

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             112.    Olympic is liable under the FLSA and WMWA for failing to pay Britt and the
 1

 2   Putative Class Members overtime compensation for all overtime hours worked when they work

 3   more than 40 hours in a workweek.

 4           113.    Consistent with Olympic’s illegal automatic meal break deduction and automatic
 5   rounding policies, Britt and the Washington Class Members were not paid “straight time” pay (at
 6
     their agreed hourly rates) for all hours worked when they worked fewer than 40 hours in a workweek.
 7
             114.    Consistent with Olympic’s illegal automatic meal break deduction and automatic
 8
     rounding policies, Britt and the Putative Class Members were not paid overtime compensation for
 9
     all overtime hours worked when they worked more than 40 hours in a workweek.
10

11           115.    As part of its regular business practices, Olympic intentionally, willfully, and

12   repeatedly engaged in a pattern, practice, and/or policy of violating the FLSA, WMWA, and/or

13   WWRA with respect to Britt and the Putative Class Members.
14           116.    Olympic’s illegal policies deprived Britt and the Putative Class Members of wages,
15
     including overtime compensation, which they are owed under federal and/or state law.
16
             117.    There are many similarly situated FLSA Collective Members who have been denied
17
     overtime pay in violation of the FLSA who would benefit from the issuance of a court-supervised
18
     notice of this lawsuit and the opportunity to join it.
19

20           118.    This notice should be sent to the FLSA Collective Members pursuant to 29 U.S.C.

21   § 216(b).

22           119.    Those similarly situated employees are known to Olympic, are readily identifiable,
23   and can be located through Olympic’s records.
24

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                                             COUNT I
 1                         VIOLATIONS OF THE FLSA, 29 U.S.C. § 201, ET SEQ.
 2                                      (FLSA COLLECTIVE)

 3          120.    Britt realleges and incorporates all other paragraphs by reference.

 4          121.    Britt brings her FLSA claim as a collective action under 29 U.S.C. § 216(b).
 5          122.    Olympic violated, and is violating, the FLSA by failing to pay Britt and the FLSA
 6
     Collective Members overtime wages at rates not less than 1.5 times these employees’ regular rates
 7
     of pay for all hours worked in excess of 40 in a single workweek, including hours worked “off the
 8
     clock” during these employees’ unpaid meal periods.
 9
            123.    Throughout the relevant period, Olympic expected and required Britt and the FLSA
10

11   Collective Members to remain on-duty and be available to work during their unpaid meal breaks.

12          124.    Britt and the FLSA Collective Members have been harmed as a direct and proximate

13   result of Olympic’s unlawful conduct because they have been deprived of wages owed for work that
14   they performed and from which Olympic derived a direct and substantial benefit.
15
            125.    Olympic knowingly, willfully, or in reckless disregard carried out this illegal pattern
16
     or practice of failing to pay Britt and the FLSA Collective Members overtime compensation for all
17
     overtime hours worked.
18
            126.    Olympic’s failure to pay Britt and the FLSA Collective Members overtime
19

20   compensation for all overtime hours worked was neither reasonable, nor was the decision not to

21   pay these employees overtime compensation for all overtime hours worked made in good faith.

22          127.    Accordingly, Britt and the FLSA Collective Members are entitled to recover their
23   unpaid overtime wages under the FLSA in an amount equal to 1.5 times their regular hourly rates
24
     of pay, plus an equal amount as liquidated damages, and attorney’s fees and costs.
25

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                                           COUNT II
 1                 VIOLATIONS OF THE WMWA, REV. CODE WASH. CH. 49.46, ET SEQ.
 2                                    (WASHINGTON CLASS)

 3          128.    Britt realleges and incorporates all other paragraphs by reference.

 4          129.    Britt brings her claim under the WMWA as a Rule 23 class action.
 5          130.    The conduct alleged violates the WMWA, REV. CODE WASH. Ch. 49.46, et seq.
 6
            131.    At all relevant times, Olympic was subject to the requirements of the WMWA.
 7
            132.    At all relevant times, Olympic employed Britt and the Washington Class Members
 8
     as “employees” within the meaning of the WMWA.
 9
            133.    The WMWA requires employers, like Olympic, to pay employees at a rate not less
10

11   than 1.5 times their regular rate of pay – based on all renumeration received – for all hours worked

12   in excess of 40 hours in any one workweek. See REV. CODE WASH. § 49.46.130

13          134.    Britt and the Washington Class Members are entitled to overtime pay under the
14   WMWA.
15
            135.    Olympic violated, and is violating, the WMWA by failing to pay Britt and the
16
     Washington Class Members overtime compensation for all hours worked in excess of 40 in a
17
     workweek. See REV. CODE WASH. § 49.46.130(1).
18
            136.    Specifically, Olympic’s automatic meal break deduction and automatic rounding
19

20   policies violate the WMWA because they both deprive Britt and the Washington Class Members of

21   overtime pay for all hours worked in excess of 40 hours in a workweek. See REV. CODE WASH. §

22   49.46.130
23          137.    Accordingly, Britt and the Washington Class Members are entitled to recover their
24
     unpaid overtime wages (REV. CODE WASH. § 49.46.090), an equal amount as liquidated damages
25
     (REV. CODE WASH. § 49.52.070), attorney’s fees and costs (REV. CODE WASH. § 49.48.030), as well
26
     as pre- and post-judgment interest at a rate of 12% per annum (REV. CODE WASH. § 19.52.020).
27

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                                         COUNT III
 1                  VIOLATIONS OF THE WWRA, REV. CODE WASH. 49.52, ET SEQ.
 2                                   (WASHINGTON CLASS)

 3          138.    Britt realleges and incorporates all other paragraphs by reference.

 4          139.    Britt brings her claim under the WWRA as a Rule 23 class action.
 5          140.    The conduct alleged violates the WWRA, REV. CODE WASH. 49.52, et seq.
 6
            141.    At all relevant times, Olympic was subject to the requirements of the WWRA.
 7
            142.    At all relevant times, Olympic employed Britt and the Washington Class Members
 8
     as “employees” within the meaning of the WWRA.
 9
            143.    The WWRA prohibits employers, like Olympic, from depriving employees of “any
10

11   part of [their] wage” and from paying “any employee a lower wage than the wage such employer is

12   obligated to pay such employee by any statute, ordinance or contract.” REV. CODE WASH. §

13   49.52.050.
14          144.    During the course of their employment, Olympic agreed to pay Britt and each
15
     Washington Class Member an hourly rate for all hours worked under and up to 40 hours in a
16
     workweek.
17
            145.    Britt and each Washington Class Member accepted Olympic’s offer.
18
            146.    But during the course of their employment, Olympic failed to pay Britt and the
19

20   Washington Class Members for all time they worked at the rates Olympic agreed to pay them

21   because Olympic automatically deducted 30 minutes/shift from these employees’ recorded hours

22   worked.
23          147.    Olympic violated, and is violating, the WWRA by failing to pay Britt and the
24
     Washington Class Members all wages earned for all hours worked at the hourly rates Olympic agreed
25
     to pay them for the work they performed. See REV. CODE WASH. § 49.52.050.
26

27

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            148.    Accordingly, Britt and the Washington Class Members are entitled to recover their
 1

 2   unpaid “straight time” compensation (at their agreed hourly rates) plus an equal amount as liquidated

 3   damages (REV. CODE WASH. § 49.52.070), attorney’s fees and costs (REV. CODE WASH. § 49.48.030),

 4   as well as pre- and post-judgment interest at a rate of 12% per annum (REV. CODE WASH. §
 5   19.52.020).
 6
                                       COUNT IV
 7      FAILURE TO PROVIDE BONA FIDE MEAL BREAKS, WASH. ADMIN. CODE § 296-126-092
                                  (WASHINGTON CLASS)
 8
            149.    Britt realleges and incorporates all other paragraphs by reference.
 9
            150.    Britt brings her meal break claims as a Rule 23 class action.
10

11          151.    The conduct alleged violates the meal break requirements of the Washington

12   Administrative Code, WASH. ADMIN. CODE § 296-126-092

13          152.    At all relevant times, Olympic was subject to the requirements of the Washington
14   Administrative Code.
15
            153.    At all relevant times, Olympic employed Britt and the Washington Class Members
16
     as “employees” within the meaning of the Washington Administrative Code.
17
            154.    WASH. ADMIN. CODE § 296-126-092 requires employers, like Olympic, to provide
18
     employees meal periods of at least 30 minutes which commence no less than two hours nor more
19

20   than five hours from the beginning of the employee’s shift.

21          155.    The WASH. ADMIN. CODE § 296-126-092 further mandates that meal periods shall

22   be paid when the employee is required by the employer to remain on duty on the premises or at a
23   prescribed work site in the interest of the employer.
24
            156.    Throughout the relevant period, Olympic expected and required Britt and the
25
     Washington Class Members to be available to work during their unpaid meal breaks.
26

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             157.    Because Britt and the Washington Class Members were not relieved of all duties
 1

 2   during their meal breaks but instead were subject to interruptions, Olympic violated, and continues

 3   to violate, WASH. ADMIN. CODE § 296-126-092 when it automatically deducts 30 minutes from these

 4   employees’ recorded work time and wages when they work during meal periods that were not bona
 5   fide, continuous, and uninterrupted.
 6
             158.    Britt and the Washington Class Members have been harmed as a direct and
 7
     proximate result of Olympic’s unlawful conduct because they have been deprived of wages owed
 8
     for work they performed and from which Olympic derived a direct and substantial benefit.
 9
             159.    Accordingly, Britt and the Washington Class Members are entitled to recover
10

11   penalties in an amount not less than $25 nor mare than $1,000 per violation (WASH. ADMIN. CODE

12   § 296-126-226; REV. CODE WASH. §49.12.170), attorney’s fees and costs (REV. CODE WASH. §

13   49.48.030), as well as pre- and post-judgment interest at a rate of 12% per annum (REV. CODE
14   WASH. § 19.52.020).
15
                                                JURY DEMAND
16
             160.    Britt demands a trial by jury.
17
                                               RELIEF SOUGHT
18
             WHEREFORE, Britt, individually and on behalf of the Putative Class Members, seeks the
19

20   following relief:

21                   a.        An Order designating the FLSA claims as a collective action and

22                             permitting the issuance of a notice pursuant to 29 U.S.C. § 216(b) to all
23                             FLSA Collective Members with instructions to permit them to assert
24
                               timely FLSA claims in this action by filing individual Consents to Sue
25
                               pursuant to 29 U.S.C. § 216(b);
26

27

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                b.     An Order designating the Washington claims as a class action pursuant to
 1

 2                     FED. R. CIV. P. 23;

 3              c.     An Order appointing Britt and her counsel to represent the interests of the

 4                     FLSA Collective and Washington Class;
 5              d.     An Order pursuant to Section 16(b) of the FLSA finding Olympic liable
 6
                       for unpaid back wages due to Britt and the FLSA Collective Members, as
 7
                       well as for liquidated damages in an amount equal to their unpaid
 8
                       compensation;
 9
                e.     An Order finding Olympic liable to Britt and the Washington Class
10

11                     Members for their unpaid overtime compensation owed under the

12                     WMWA, as well as for liquidated damages in an amount equal to their

13                     unpaid compensation;
14              f.     An Order finding Olympic liable to Britt and the Washington Class
15
                       Members for unpaid “straight time” wages owed under the WWRA, as
16
                       well as for liquidated damages in an amount equal to their unpaid
17
                       compensation;
18
                g.     On Order finding Olympic liable to Britt and the Washington Class
19

20                     Members for failing to provide and ensure these employees received bona

21                     fide meal breaks in compliance with the Washington Administrative Code;

22              h.     Judgment awarding Britt and the Putative Class Members all unpaid
23                     compensation and other damages available under the FLSA, WMWA,
24
                       WWRA, and the Washington Administrative Code;
25
                i.     An Order awarding attorney’s fees, costs, and expenses;
26
                j.     Pre- and post-judgment interest at the highest applicable rates; and
27

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                 k.        Such other and further relief as may be necessary and appropriate.
 1

 2        Dated: April 27, 2023                 Respectfully submitted,
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